     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 1 of 7

 1

 2

 3

 4

 5

 6

 7

 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   RALPH COLEMAN, et al.,                           No. 2:90-cv-0520 KJM KJN P
12                       Plaintiffs,
13          v.                                        ORDER
14   GAVIN NEWSOM, et al.,
15                       Defendants.
16

17
                    This matter is set for a quarterly status conference on March 20, 2020 at 10 a.m.
18
     Through its Special Master, the court has confirmed that the parties are available to proceed with
19
     the conference if they can appear telephonically, in light of the coronavirus pandemic; the court
20
     approves telephonic appearances for all parties, with the Special Master and certain court staff
21
     also appearing telephonically. As invited by the court’s January 7, 2020 order, ECF No. 6441,
22
     the parties have filed proposed agenda items for the status conference. ECF No. 6441 at 10.
23
     After review of those items and others previously continued by the court, the court now sets the
24
     following agenda:
25
                    1.       Update on coronavirus. The parties and the Special Master should be
26
                             prepared to provide any updates they have on the impact of the coronavirus
27

28
                                                      1
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 2 of 7

 1                    pandemic on monitoring, mental health programming, and coordination
 2                    with the Plata Receiver.
 3               2.   Update on coordination between Coleman and Plata. See ECF No. 6441 at
 4                    2-5.
 5               3.   Review of Items Referred to the Special Master. See ECF No. 6441 at 6-7
 6                    and Attachment A to this order.
 7               4.   Establishing Benchmarks and Procedures for Determining When
 8                    Constitutional Compliance Has Been Durably Achieved. See ECF No.
 9                    6494 at 4-5. This matter has been referred to the Special Master for
10                    recommendations to be included in his Twenty Eighth Round Monitoring
11                    Report. See ECF No. 5852 at 3. In view of intervening events that are
12                    delaying completion of the Twenty Eighth Monitoring Round, including
13                    proceedings on the Golding Report and the additional burdens placed on
14                    the Special Master’s resources as a result of those proceedings, the court is
15                    contemplating setting its own process for establishing benchmarks. The
16                    parties shall be prepared to present their respective positions on an efficient
17                    process for establishing those benchmarks as soon as practically feasible.
18               5.   Enhanced Outpatient Program Administrative Segregation Unit (EOP
19                    ASU) Hub Certification. See ECF No. 6441 at 9. The parties should be
20                    prepared to (a) address whether the certification process is moving
21                    defendants toward the provision of constitutionally adequate mental health
22                    care to EOP inmates in administrative segregation units; and (b) provide
23                    the court with a brief summary of their respective positions with respect to
24                    any alleged ongoing constitutional violations in these units. The purpose
25                    of the latter summary will be to facilitate a discussion of how to resolve
26                    any outstanding disputes and move toward constitutional compliance and,
27                    if necessary, enforcement orders.
28   /////
                                                 2
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 3 of 7

 1               6.    Data Integration, Management and Integrity. See ECF No. 6494 at 3-4.
 2               7.    Status of development of an adequate process for updating mental health
 3                     records in the Electronic Health Records System (EHRS). See ECF No.
 4                     6441 at 10.
 5               8.    Sustainable Process Improvement. See ECF No. 6494 at 2. As proposed
 6                     by defendants, the parties shall be prepared to address the steps devised by
 7                     defendants to ensure timely identification, referral and transfer of inmates
 8                     in need of inpatient mental health care to such care. In addition, the court
 9                     has reached the tentative conclusion that at least one additional unmet bed
10                     needs study will be required in order for defendants to demonstrate (a) that
11                     they have a sufficient number of licensed inpatient mental health beds,
12                     including mental health crisis beds; and (b) that all class members in need
13                     of inpatient mental health care are in fact being timely identified, referred,
14                     and transferred to such care. Accordingly, the parties should be prepared to
15                     discuss the time frame for conducting such a study and, in addition,
16                     whether they will stipulate to defendants’ conducting such study under the
17                     guidance and supervision of the Special Master without further order of this
18                     court.
19               9.    Deficient Treatment and Conditions in Psychiatric Inpatient Programs. See
20                     ECF No. 6493 at 3-5.
21               10.   Staff Misconduct Against Coleman Class Members. See ECF No. 6493 at
22                     5-7. As plaintiffs note, this issue has been raised by motion in one of the
23                     coordinating cases, Armstrong v. Newsom, Case No. C94 2307 CW
24                     (N.D.Cal.). At this first quarterly status, discussion of this matter will be
25                     limited to any update the parties may have on plaintiffs’ proposed
26                     protective order to allow defendants’ sharing of information with plaintiffs
27                     and whether plaintiffs intend to pursue motion practice in this court,
28                     including but not limited to a request for leave to conduct discovery.
                                                  3
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 4 of 7

 1                  At this time the court does not plan to cover at this status the other agenda items
 2   continued by the court to this first quarterly status conference or proposed by the parties but not
 3   included above. After covering the above items, the court will ask if the parties have focused
 4   updates on any of these other matters, for the court’s consideration.
 5                  IT IS SO ORDERED.
 6   DATED: March 17, 2020.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       4
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 5 of 7

 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                                ATTACHMENT
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          5
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 6 of 7

 1                 ITEMS REFERRED TO THE SPECIAL MASTER THAT REMAIN ONGOING
 2

 3      1. Ongoing monitoring of implementation of plans and policies approved by the court’s
 4         August 11, 2014 order, ECF No. 5196, as modified by ECF No. 5371, concerning use of
 5         force, use of management status, limitation or elimination of “placement of class members
 6         removed from the general population for non-disciplinary reasons in administrative
 7         segregation units that house inmates removed from the general population for non-
 8         disciplinary reasons in administrative segregation units that house inmates removed from
 9         the general population for disciplinary reasons,” and strip searches in EOP ASUs, id. See
10         ECF No. 5371 at 3.
11      2. Supervision of development and implementation of mental health staffing plan for
12         Department of State Hospitals (DSH). See ECF Nos. 5573, 5711.
13      3. Supervision of DSH development of continuous quality improvement (CQI) process. See
14         ECF No. 5573 at 3.
15      4. Regular monitoring rounds (28th Round is currently ongoing). See ECF No. 640; see also
16         ECF No. 6296 (approving stipulation concerning transfer of class members from desert
17         institutions); see also ECF No. 6467 (Special Master to supervise full implementation and
18         monitoring of Psychiatric Medication Adherence Clarifying Directives); see also ECF No.
19         6242 (question of whether, and to what extent, supervising psychiatrists can or should
20         perform duties of line psychiatrists consistent with the 2009 Staffing Ratios).
21      5. Development of process for annual updates to Program Guide. See ECF No. 6211.
22         Amended Report filed February 20, 2020, ECF No. 6476, is pending before the court.
23      6. Reporting on status of implementation of suicide prevention measures. See ECF No.
24         6212.
25      7. Data remediation following Golding proceedings, including hiring his own data expert to
26         aid with development and monitoring of an adequate quality management process for
27         mental health and/or use of Plata quality management process for mental health. See ECF
28         Nos. 6312, 6435.
                                                    6
     Case 2:90-cv-00520-KJM-DB Document 6509 Filed 03/17/20 Page 7 of 7

 1      8. Receipt on April 30, 2020 of certification by defendants that all deadlines specified in
 2         their updated Custody and Mental Health Partnership Plan, ECF No. 6278, approved by
 3         order filed October 8, 2019, ECF No. 6314. See ECF No. 6314 at 2.
 4      9. Coordination with Plata and Armstrong. See, e.g., ECF No. 6427 at 34.
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     7
